Approved, SCAO

CaSe 1218-CV-OOJ_24-G.]Q-RSK ECF NO. 53-

Original - Court

tst copy ~ for LE|N entry

3 filed 09/10/18

 

STATE OF NllCHlGAN
JUD|ClAL DISTR|CT
14th JUD|CIAL CIRCUIT
Mugkegon COUNTY PROBATE

 

REMOVAL OF ENTRY FRON'| LE|N

 

13-257503 PH

Mcycrs v. Rudd

 

 

GRl

COUI`l. address

990 Terrace Su‘eet, Muskegon MI 49442

Court telephone no.
(231] 724-6530

 

 

Effect.ive date of order

Expiration date of order Agency tile no.

 

 

 

 

 

 

07'/'22/2013 02/01/2014 NSPD: 2013-04915
TO: Law enforcement agency and address DefendanUJuveni|e/Respondent name, address, and telephone no.
|_ _‘ Daniel Willia.m Rudd
Norton Sbores Police Department 201 S LAKE AVE
4814 Henry Street SPRING LAKE, MI 49456
N t Sh MI 49441
°r °n °res’ (231) 557-2532
Phone; 231-733-2691 Fax: 231-798-1968 Dafe °fbiflh
l_ _] 12/13/2015

 

 

 

IT lS ORDERED:
‘l_ The conditions requiring LE|N entry in this case or matter no longer exist_
2. The record of this entry shall be removed immediater from LaW Enforcement lnformation Network (LEIN) tiles.

2-‘!-'|!¢

Date

 

Pl-t,w_

'P 4479 l
Judge/Distri(t/couri{jnagistrate

Ba]’ I'lCl,

To the law enforcement agency:

lmmectiate|y after receiving this form, remove entry in this case or matter from Law Enforcement information Network (LEiN) fries,
complete the certitication, and return the an copy to the court. '

 

CERTIF|CAT]ON OF REMOVAL

 

i certify that the LEIN entry in this case or matter has been removed from LE|N files.

 

gate Signature of law enforcement representative

nrc 239 (3/05) REMOVAL OF ENTRY F*'\M LEIN Mcr_ 764.15b, Mcr_ rss.eb

 

Case 1:18-cv-00124-G.]Q-RSK ECF No. 53-3 filed 09/10/18 Page|D.348 Page 2 of 3

STATE OF |VilCH|GAN
lN THE 14“‘ ClRCU|T COURT FOR THE COUNTY OF MUSKEGON

 

|V|EL|SSA L. MEYERS,

Petitioner, HON. GREGORY C. PiTTNiAN
7 Circuit Court Judge

CaSe NO.: 13-257503-PH

DAN|EL W|LLIAM RUDD,

 

Respondent.
iViichel|e iVi. McLean (P71393) Danie| Wiiiiam Rudd, Responderrt
Bo|house, Baar & Hofstee, PC fn Pro Per
Attorneys for Petitioner 201 S. Lai<e Avenue
3996 Chicago Drive, SW Spring Lake, ivii 49546
Grandviiie, Mi 49418 (231) 557-2532

(616) 531¢7711

 

ORDER FOLLOWING DECEMBER 15. 2015 HEARING DlSM|SSlNG PERSONAL
PROTECT|ON OR[ER AND CLOS|NG CASE FILE

This matter having been~ brought before the Court on Respondent's Objection to
Petitioner's Proposed Order Foiiowing Novembe`r 9, 2015 Hearing; the Partles having appeared
before this Court on December 15, 2015; the Court having been made aware of new
developments related to the case, specifically that the Petitioner was no longer representing
Respondent’s ex-wife in a custody action1 Danr'el i/i/r“lir'am Rudd v Ano'rea J. Averiir' (f/k/a Rudd),
l\/iuskegon County Circuit Cour'tl Case No. 07-36874-Dl\fi; the Respondent having acknowledged
on the record that he will have no future contact With Petitioner; and the Court being otherwise
fully advised in the premises,

NOW THEREFORE,

iT |S HEREBY-ORDERED AND AD.iUDGED that the Personai Protection Order dated
Ju|y 22, 2013 shall be and hereby is D|SM|SSED pursuant to the statements made by the Court

on the record on November 26, 2013 and for the reasons stated on the record on December 15,

 

Case 1:18-cv-00124-G.]Q-RSK ECF No. 53-3 filed 09/10/18 Page|D.349 Page 3 of 3

2015 byithis Court. A|i issues in this case are now dismissed with prejudice, including the

November 4, 2015 Order to show cause.

THIS ORDER RESOL VES THE LASTPENDING CLAIM AND CLOSES THE CASE.

M%~_

Hon. Gregory C. Pittman
Circuit Court Judge

A`l'l'EST: A TRUE COPY

 

Court Cierk

 

